Case 2:05-cv-02176-.]DB-dkv Document 6 Filed 06/02/05 Page 1 of 2 Page|D 14

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WESTERN DISTRICT OF TENNESS€;§U£ _2 m er 55
WESTERN DIVISION

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UNITED STATES OF AMERICA JUDGMENT IN A CIVIL CASE
ex rel. MARSHALL DeWAYNE WILLIAMS,

Plaintiff,
v.

AMERICAN CORRECTIONAL CASE NO: 05-2176-B
ASSOCIATION, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on May 27, 2005, this cause is hereby dismissed.

ROVED:

 

MNIEL BREEN
G.fLNlhED STATES DISTRICT COURT

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Date Clerk of Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02176 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Marshall DeWayne Williams
FCI-l\/[El\/[PH[S

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P.O. Box 34550

Memphis7 TN 3 8184--05 5

Honorable J. Breen
US DISTRICT COURT

